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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                            CR 13-12-BLG-DWM
                      Plaintiff,
                                                              ORDER
        vs.


 KIRK VON FELHABER,


                      Defendant.


      United States Magistrate Judge Carolyn Ostby entered Findings and

Recommendation in this matter on August 22, 2013. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).


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      Judge Ostby recommended this Court accept Kirk Von Felhaber’s guilty

plea after Felhaber appeared before her pursuant to Federal Rule of Criminal

Procedure 11, and entered his plea of guilty to the Count contained in the

Superseding Information, which charges the crime of Conspiracy to Possess with

Intent to Distribute Marijuana, in violation of 21 U.S.C. § 846.

      I find no clear error in Judge Ostby’s Findings and Recommendation (doc.

122), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS HEREBY ORDERED that Kirk Von Felhaber’s motion

to change plea (doc. 94) is GRANTED and his plea of guilty is accepted and he is

now adjudged guilty of the crime of Conspiracy to Possess with Intent to

Distribute Marijuana, in violation of 21 U.S.C. § 846. Trial in this matter is

VACATED.

      DATED this 3rd day of September, 2013.




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